Case 2:24-cv-00173-Z            Document 56       Filed 03/03/25      Page 1 of 1      PageID 870



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

STATE OF TEXAS and THE HERITAGE
FOUNDATION,

              Plaintiffs,

v.                                                           2:24-CV-173-Z

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, ez. al.,

              Defendants.

                                               ORDER

           Before   the Court is Defendants’   Motion   to Withdraw   as Counsel    for Defendants

(“Motion”). ECF No. 54. Taisa M. Goodnature moves to withdraw as counsel because “her

employment with the U.S. Department of Justice concluded on February 27, 2025.” And no

substitution is necessary as “Defendants will continue to be represented by the U.S. Department

of Justice and the other federal attorneys who have entered appearances in this action.” ECF No.

54 at 1.

           “An attorney may withdraw from representation only upon leave of the court and a

showing of good cause and reasonable notice to the client.” Jn re Wynn, 889 F.2d 644, 646

(5th Cir. 1989). “The withdrawal of an attorney in a given case is a matter entrusted to the sound

discretion of the court... .” Jd. (internal marks omitted); See also Loc. Civ. R. 83.12.

           In light of the relevant facts and law, the Court GRANTS the Motion.

           SO ORDERED. March 3, 2025
                                                                        Peau
                                                        MATHEW J. KACSMARYK
                                                        UNITED STATES DISTRICT JUDGE
